Case 4:48-eF-66674-BEE  Becuments? Filed 68/99/24 Bage 4 B32

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September 27, 2024

Hon. Paul G. Gardephe

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United States District Judge DORSED Sa de
Southern District of New York _ : The’ Application is is granted, pA pra 4
40 Foley Square Are (NMA gh pore og cenen 2, 22¥ ge”

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New York, NY 10007 So ORDERED”

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Re: — United States v. Frank Quiroga, 18 Cr. 674 (PGau'G. Gardephe, U.S.D.J.
Dated: Sin. > So Fy2y

Dear Judge Gardephe:

I am defense counsel for Frank Quiroga, who is scheduled to appear on October 1, 2024,
for a violation of supervised release (““VOSR”) conference. With the consent of Assistant United
States Attorney Andrew Chan, J respectfully request that the conference be adjourned for sixty
days. Since the defense last provided an update to the Court on July 19, 2024 (ECF No. 35),
Mr. Quiroga has no new arrests.

In Queens County indictment 72207-23, Mr. Quiroga pleaded guilty on March 5, 2024, to
misdemeanor assault in Part Tap A. He was sentenced to a one-year conditional discharge, and
he is still in compliance.

In Queens County docket CR-010878-23QN, Mr. Quiroga completed an Anger
Management program through the Fortune Society, and he agreed to begin another 26-week
program called A.P.I.P. (Abusive Partnership Intervention Program). That is the same program
mandated in New York County. The Court went along with the parties’ suggestion that if he
successfully completes the program, he will be permitted to plead guilty to a violation. That is
an open case, and it is adjourned to November 18, 2024.

In New York County docket CR-003760-24NY, Mr. Quiroga pleaded guilty to
Harassment in the 2nd degree, P.L. § 240.26(1). He is mandated to complete the APIP program.
That case is adjourned to November 7, 2024.

New York County docket CR-003818-24NY, which involved an assault in the holding
cell prior to arraignment, was dismissed.
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Thank you for your courtesy and attention to this matter.

Sincerely,
/s/
Donald J. Yannella, Esq.

U.S.P.O. Michael Imrek
U.S.P.O. Michael Estreicher

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